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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

WILMINGTON SAVINGS FUND                           §
SOCIETY, FSB, NOT IN ITS                          §
INDIVIDUAL CAPACITY BUT                           §
SOLELY IN ITS CAPACITY AS                         §
OWNER TRUSTEE FOR CASCADE                         §
FUNDING MORTGAGE TRUST 2018-                      §
RM1,                                              §     Civil Action No. 3:22-cv-00735-S-BN
                                                  §
          Plaintiff,                              §
v.                                                §
                                                  §
B.B. BARR, VINIDA BARR,                           §
                                                  §
          Defendants.                             §

                   NOTICE OF NO OBJECTION TO PLAINTIFF’S MOTION
                           FOR FINAL SUMMARY JUDGMENT

          Plaintiff Wilmington Savings Fund Society, FSB, not in its Individual capacity but solely

as Owner Trustee for Cascade Funding Mortgage Trust 2018-RM1 (“Plaintiff” or WSFS”), files

this Notice of No Objection to Plaintiff’s Motion for Final Summary Judgment and respectfully

states:

          1.      On May 12, 2023, Plaintiff filed its Motion for Final Summary Judgment (“MSJ”)

against Defendants B.B. Barr and Vinida Barr (“Defendants”). (ECF No. 27.)

          2.      On May 15, 2023, the Court entered Supplement Scheduling Order requiring

Defendants to file their written response to the MSJ by June 12, 2023. (ECF No. 30.)

          3.      No objections were filed by Defendants within the prescribed time. Accordingly,

at this point the Court can grant Plaintiff’s MSJ as unopposed.




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        WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that the

Court enters an order granting Plaintiff’s Motion for Final Summary Judgment and grant it any

other relief, whether at law or in equity, to which it is justly entitled.

                                                     Respectfully submitted,

                                                    By: /s/ Vivian N. Lopez
                                                       MARK D. CRONENWETT
                                                       Texas Bar No. 00787303
                                                       mcronenwett@mwzmlaw.com

                                                        VIVIAN N. LOPEZ
                                                        Texas Bar No. 24129029
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                                                    MACKIE WOLF ZIENTZ & MANN, P.C.
                                                    14160 North Dallas Parkway, Suite 900
                                                    Dallas, TX 75254
                                                    Telephone: 214-635-2650
                                                    Facsimile: 214-635-2686

                                                    ATTORNEYS FOR PLAINTIFF

                                  CERTIFICATE OF SERVICE

      I hereby certify that on August 10, 2023, a true and correct copy of the foregoing
document was delivered to the following parties in the manner described below:

Via Regular U.S. Mail                                 Via Regular U.S. Mail
B.B. Barr                                             Vinida Barr
6638 Williamson Road                                  6638 Williamson Road
Dallas, Texas 75214                                   Dallas, Texas 75214
tlc@airmail.net                                       tlc@airmail.net
Pro Se Defendant                                      Pro Se Defendant

                                                        /s/ Vivian N. Lopez
                                                        VIVIAN N. LOPEZ




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